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                      IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                         ANDERSON/GREENWOOD DIVISION

UNITED STATES OF AMERICA,              )      CRIMINAL NO.: 8:19-cr-00181-DCC
                                       )
             Plaintiff,                )
                                       )
             vs.                       )
                                       )
DETRIC LEE MCGOWAN,                    )
  a/k/a “Fat,”                         )
                                       )
             Defendant.                )



                          DECLARATION OF PUBLICATION

       In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal

 Rules of Criminal Procedure, notice of the forfeiture was posted on an official

 government internet site (www.forfeiture.gov) for at least 30 consecutive days, beginning

 on April 10, 2020, and ending on May 9, 2020. (See Attachment 1).

       I declare under penalty of perjury that the foregoing is true and correct. Executed

on May 11, 2020, at Greenville, SC.


                                           s/ Carrie Fisher Sherard
                                           Carrie Fisher Sherard
                                           Assistant U.S. Attorney




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